Case 2:04-cv-02448-.]PI\/|-STA Document 40 Filed 08/11/05 Page 1 of 2 Page|D 53

Hl-L’D sv
IN THE UNITED STA.TES DISTRICT COURT “ D.C_

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WILLODEAN P . PRECISE ,
Plaintiff,

v l

No. 04-2448 Ml/An

DUNCAN WILLIAMS, INC.,

Defendant.

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JUDGMENT

 

JUDGMENT BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS THEREFORE OR.DERED, ADJUDGED, AND DECREED that,, in
accordance With the Order Granting Defendant's Motion to Dismiss,
entered November 4, 2004, and the Order Denying Plaintiff's
Motion to Alter or Amend Judgment and to Reconsider Denial of
Leave to Amend, filed August ll, 2005, judgment is hereby entered
in favor of Defendant Duncan Williams, Inc. and against Plaintiff
Willodean P. Precise.

APPROVED :

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JO P. MCCALLA
UN ED STATES DISTRICT COURT

 

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Date Clerk of Court

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(By)C/Deputy Clerk

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Notice of Distribution

This notice confirms a copy of the document docketed as number 40 in
case 2:04-CV-02448 Was distributed by faX, mail, or direct printing on
August 12, 2005 to the parties listed.

 

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Honorable J on McCalla
US DISTRICT COURT

